        Case 22-60020 Document 110 Filed in TXSB on 06/01/22 Page 1 of 4




                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 VICTORIA DIVISION

IN RE:                                        §
  INFOW, LLC et al.                           §      CASE NO. 22-60020
                                              §
  DEBTORS.                                    §      CHAPTER 11 (Subchapter V)
                                              §        Jointly Administered
                                              §

                         STIPULATION AND AGREED ORDER
                      DISMISSING DEBTORS’ CHAPTER 11 CASES
                               [Related to ECF. No. 50]

       This Stipulation and Agreed Order Dismissing Debtors’ Chapter 11 Cases is entered into

by and among the above-captioned debtors (the “Debtors”), Melissa Haselden as the duly

appointed Subchapter V Trustee (the “Sub V Trustee”) and the United States Trustee (“UST” and

together with the Debtors and the Sub V Trustee, the “Parties”).

       WHEREAS, on April 17, 2022 and April 18, 2022, the Debtors filed their bankruptcy cases

which are jointly administered under Case No. 22-60020 (collectively, the “Chapter 11 Cases”).

       WHEREAS, the Connecticut Plaintiffs filed their Connecticut Plaintiffs’ Emergency

Motion to Dismiss Chapter 11 Cases and Objection to Designation as Subchapter V Small

Business Vendors (sic) [ECF No. 36] on April 26, 2022 (the “Connecticut Plaintiffs MTD”).

       WHEREAS, the Texas Plaintiffs filed The Texas Litigation Plaintiffs’ Supplemental

Motion to Dismiss Petition [ECF No. 42] on April 27, 2022 (the “Texas Plaintiffs MTD”).

       WHEREAS, on April 29, 2022, the UST filed its Motion to Dismiss Debtors’ Chapter 11

Cases [ECF No. 50] (the “UST MTD”).

       WHEREAS, the Texas and Connecticut Plaintiffs have dismissed the Debtors with

prejudice from the state court litigation and stipulated that they are no longer creditors and claim

holders against the Debtors.
         Case 22-60020 Document 110 Filed in TXSB on 06/01/22 Page 2 of 4




         WHEREAS, Marc Schwartz, the Chief Restructuring Officer of the Debtors, has

determined that it is in the best interest of the Debtors’ estates and their creditors not to continue

the Chapter 11 Cases in light of the dismissal with prejudice of the Debtors from the lawsuits

against them by the Texas and Connecticut Plaintiffs.

         WHEREAS, Debtors and the UST wish to stipulate to the disposition of the Chapter 11

Cases.

Accordingly, it is hereby AGREED and, upon approval of the Court, ORDERED that:


         1.    The Chapter 11 Cases are hereby dismissed pursuant to 11 U.S.C. § 1112(b) upon

entry of this Order.

         2.    The Sub V Trustee is hereby discharged from her duties upon entry of this Order.

         3.    Within three (3) business days from the entry of this Order, the Debtors shall

advance $25,000 to the Sub V Trustee to hold in her IOLTA trust account for application against

any fees and expenses approved for payment by this Court.

         4.    Within ten (10) days from the entry of this Order, the Sub V Trustee shall file a

final application seeking approval of her fees and expenses related to these Chapter 11 Cases. All

parties shall have the right to object to and contest the allowance of all fees and expenses sought

by the Sub V Trustee.

         5.    Upon the order approving the Sub V Trustee’s fees and expenses becoming a final

order, the Sub V Trustee shall take into income the allowed fees and expenses from the IOLTA

trust fund account. Any amount remaining after taking the allowed amount into income by the

Sub V Trustee shall be returned to the Debtors.




                                                  2
          Case 22-60020 Document 110 Filed in TXSB on 06/01/22 Page 3 of 4




          6.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Stipulation and Agreed

Order.


Dated: June ___, 2022
       Houston, Texas
                                         ________________________________________
                                         THE HONORABLE CHRISTOPHER M. LOPEZ
                                         UNITED STATES BANKRUPTCY JUDGE

AGREED TO AND ENTRY REQUESTED:

KEVIN M. EPSTEIN
UNITED STATES TRUSTEE

By: /s/Jayson B. Ruff
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– and –

INFOW, LLC (F/K/A INFOWARS, LLC),
IWHEALTH, LLC (F/K/A INFOWARS
HEALTH, LLC), AND PRISON PLANET TV, LLC

/s/ Kyung S. Lee
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Proposed Counsel to the Debtors


– and –


                                                 3
       Case 22-60020 Document 110 Filed in TXSB on 06/01/22 Page 4 of 4




SUBCHAPTER V TRUSTEE

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                                      4
